Case 8:09-cv-00764-AG-RNB Document 99 Filed 02/09/12 Page 1 of 3 Page ID #:2527



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   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                               SOUTHERN DIVISION
  11 LEONARD A. ALKOV and GEORGIA               Case No. SACV09-764 AG(RNBX)
     A. ALKOV, husband and wife; et al.,
  12                                            STIPULATION FOR DISMISSAL
                  Plaintiffs,                   WITH PREJUDICE
  13
           vs.                                  FRCP Rule 41(a)(1)
  14
     JOHN ANTHONY MILLER, an
  15 individual aka JOHN A. MILLER, JR; et
     al.,
  16
                  Defendants.
  17
  18 AND RELATED COUNTERCLAIM
  19
  20        WHEREAS, the parties hereto have reached a settlement of this matter.
  21        NOW, THEREFORE, all Plaintiffs and Defendant IRA Resources, Inc.
  22 hereby stipulate pursuant to Federal Rules of Civil Procedure 41(a)(1) that
  23 Plaintiffs’ action is hereby dismissed with prejudice as to Defendant IRA Resources,
  24 Inc., and that Defendant IRA Resources, Inc.’s counterclaim is hereby dismissed
  25 ///
  26 ///
  27 ///
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           STIPULATION FOR DISMISSAL WITH PREJUDICE (FRCP 41(a)(1))
Case 8:09-cv-00764-AG-RNB Document 99 Filed 02/09/12 Page 2 of 3 Page ID #:2528
Case 8:09-cv-00764-AG-RNB Document 99 Filed 02/09/12 Page 3 of 3 Page ID #:2529



   1                        UNITED STATED DISTRICT COURT
   2                       CENTRAL DISTRICT OF CALIFORNIA
   3                                SOUTHERN DIVISION
   4                            CERTIFICATE OF SERVICE
   5        I hereby certify that on February 9, 2012, I electronically filed the foregoing
   6 STIPULATION FOR DISMISSAL WITH PREJUDICE with the Clerk of the Court
   7 using ECF which will send notification and a copy of such filing to the following
   8 person:
   9                                 Todd R. Gabriel, Esq.
                      SPARBER ANNEN MORRIS & GABRIEL, APLC
  10                              701 “B” Street, Suite 1400
                                  San Diego, CA 92101-8109
  11                              Telephone: (619)239-3600
                                   Facsimile: (619)239-5601
  12                           Email: tgabriel@sparberlaw.com
               Attorneys for Defendant/Counterclaimant IRA RESOURCES INC.
  13
  14        I declare under penalty of perjury under the laws of the United States of
  15 America that the foregoing is true and correct. Executed on February 9, 2012, at
  16 Newport Beach, California.
  17
                                             /s/ William L. Buus                   .
  18                                         William L. Buus
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                                                3
           STIPULATION FOR DISMISSAL WITH PREJUDICE (FRCP 41(a)(1))
